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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION, et al.,                    )
                                                )
       Plaintiffs,                              )
                                                )
and                                             )
                                                )
THE CITIZEN POTAWATOMI NATION,                  )
et al.,                                         )
                                                )       Case No. CIV-19-1198-D
       Plaintiffs/Intervenors,                  )
                                                )
vs.                                             )
                                                )
J. KEVIN STITT, in his official capacity as     )
the Governor of the State of Oklahoma,          )
                                                )
       Defendant.                               )

                                        ORDER

       On August 7, 2020, the parties filed separate notices in response to the Order of

July 28, 2020, directing them to inform the Court of what issues remain for decision. All

Plaintiffs and Intervenors in their notices suggested that entry of a final judgment under

Fed. R. Civ. P. 54(b) might be warranted, but no party has filed a motion for certification

of an immediate appeal under Rule 54(b).

       IT IS THEREFORE ORDERED that any Rule 54(b) motion shall be filed within

14 days from the date of this Order.

       IT IS SO ORDERED this 21st of August, 2020.
